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              17
              18                            UNITED STATES DISTRICT COURT
              19         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
              20 U.S. WECHAT USERS ALLIANCE,                   Case No. 3:20-cv-05910-LB
                 CHIHUO INC., BRENT COULTER,
              21 FANGYI DUAN, JINNENG BAO,                     DECLARATION OF JINNENG BAO
                 ELAINE PENG, and XIAO ZHANG,                  IN SUPPORT OF PLAINTIFFS’
              22                                               MOTION FOR PRELIMINARY
                           Plaintiffs,                         INJUNCTION
              23       v.                                      Judge: Hon. Laurel Beeler
              24 DONALD J. TRUMP, in his official              Date: September 17, 2020
                 capacity as President of the United States,   Time: 9:30 a.m.
              25 and WILBUR ROSS, in his official              Crtrm.: Remote
                 capacity as Secretary of Commerce,
              26                                               Trial Date:       None Set
                               Defendants.
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              28

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               1         I, Jinneng Bao, declare:
               2         1.     I am a plaintiff in the above-entitled action (the “Action”). I have personal
               3 knowledge of the matters set forth herein, and if called as a witness, I could and would
               4 competently so testify.
               5         2.     I am a United States permanent resident residing in Nassau County, New
               6 York. I have been living in the United States for thirteen years.
               7         3.     I was assisted in preparing this declaration in English. I primarily write and
               8 speak in Chinese, and if called as a witness I would testify in Chinese.
               9         4.     I am self-employed and own several local businesses including construction
              10 and trading businesses.
              11         5.     I first started using in WeChat in around 2012, and right now I have more
              12 than 1,800 contacts in my WeChat, most of whom speak Chinese.
              13         6.     I have almost never used Facebook, Line, Telegram, WhatsApp, or other
              14 similar apps to communicate with my contacts.
              15         7.     I talk to my mother and sister about twice a week and talk to my friends
              16 back in China once a while, and the only means of communications is WeChat.
              17         8.     I constantly use WeChat for business purpose to talk to my employees,
              18 partners, vendors, and customers, a majority of whom speak Chinese. WeChat is the
              19 primary communications app for almost all of my Chinese-speaking customers because it
              20 offers instant and convenient messaging and call functions.
              21         9.     I also use WeChat’s Moments to post pictures, videos, or text regarding my
              22 daily life and recreational activities with my family in Long Island, New York. I
              23 sometimes also post pictures or text about my business trips and projects in Upstate, New
              24 York.
              25         10.    I am an active member of the New Life Chinese Alliance Church in New
              26 York, and most of my fellow church members are Chinese Americans like me, whom are
              27 not proficient in English. Our church members have WeChat groups to discuss church
              28 activities. New Life Chinese Alliance Church in New York itself has two WeChat groups:

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               1 one for members in Flushing, Queens, and one for members in Brooklyn. Each group has
               2 about 200 people. We discuss and study the Bible, and share our religious and life
               3 experiences on a daily basis using WeChat. We also post information about the Church’s
               4 events. Due to the recent COVID-19 pandemic quarantine, we are unable to go to our
               5 church to physically patriciate in mass. Most of our church members use Zoom remotely
               6 for Sunday Mass and use WeChat for Bible Study.
               7          11.   I regularly attend Bible-study classes with other church members. Due to the
               8 pandemic, our Bible-study classes have also stopped meeting in person. Right now, I
               9 attend Bible-study classes only on WeChat, which are held on every Friday and Sunday
              10 night. My Bible-study group has about 20 members of the church.
              11          12.   I learned about the Executive Order on WeChat from contacts sharing the
              12 news with me, and from discussions in group chats and from media reports. I also read the
              13 Executive Order itself, read news articles, and discussed with others to try to understand its
              14 scope.
              15          13.   So far I have not fully understood, and no one can give me a definitive
              16 answer, on the meaning of the words “transaction that is related to WeChat.”
              17          14.   I understand that the Executive Order will take effect forty-five days after its
              18 issuance, and that any violation of the Executive Order may subject a person to civil and
              19 criminal sanctions.
              20          15.   I am not certain whether WeChat can still be used in the United States after
              21 the Executive Order takes effect, or that if WeChat can be used, what uses will cause me to
              22 violate the Executive Order and what uses will not. For example, I don’t know if I will be
              23 violating the Executive Order if I simply log onto WeChat, send a message to my church
              24 members, make a voice or video call to my family or business partners, or download an
              25 upgrade to WeChat. The possibility of being penalized or prosecuted for using WeChat
              26 leaves me in fear of violating the law simply by communicating with people.
              27          16.   If WeChat is banned, it will be extremely difficult for me and my fellow
              28 members to continue the Bible studies, and I fear that I will lose connections with my

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               1 church members as well as numerous other contacts on WeChat. I also don’t know how I
               2 will be able to run my business, because I depend on WeChat to communicate with my
               3 employees and customers.
               4         17.    I have spent time studying on alternative apps so that I do not run afoul of
               5 the law. Some of my friends are using an App called Line. My research shows that it is
               6 difficult for me to switch to other apps such as Facebook, Line, or Telegram because they
               7 are not designed for Chinese-speaking users, and very few of my WeChat contacts use
               8 Facebook, Line, Telegram, or similar apps. I really do not what I will do if WeChat is
               9 banned, but it worries me a lot.
              10
              11         I declare under penalty of perjury under the laws of the United States of America
              12 that the foregoing is true and correct, and that this declaration is executed at Nassau
                                        26 day of August, 2020.
              13 County, New York this ___
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                                                                 Jinneng Bao
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